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                                                             DECEMBER 6, 2007
                                                                MICHAEL W. DOBBINS
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                                                                07 C 6877
                                                               JUDGE BUCKLO
                                                          MAGISTRATE JUDGE MASON
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